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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      2:10cr186-MHT
MILTON E. McGREGOR,                )          (WO)
THOMAS E. COKER,                   )
LARRY P. MEANS,                    )
JAMES E. PREUITT,                  )
HARRI ANNE H. SMITH, and           )
JARRELL W. WALKER, JR.             )
                                   )


                                ORDER

    Due to the death of defendant Joseph R. Crosby, the

court finds that “the ends of justice served by [granting

a continuance until February 6, 2012,] outweigh the best

interest of the public and the defendant[s] in a speedy

trial.” 18 U.S.C. § 3161(h)(7)(A).              Accordingly, it is

ORDERED that the jury selection and trial for defendants

Milton E. McGregor, Thomas E. Coker, Larry P. Means,

James E. Preuitt, Harri Ann H. Smith, and Jarrell W.

Walker, Jr. now set for January 30, 2012, are continued

to Monday, February 6, 2012, at 9:00 a.m., in the Frank
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M.    Johnson     Jr.    United      States     Courthouse      Complex,

Courtroom 2FMJ, One Church Street, Montgomery, Alabama.

      It is further ORDERED that parties and their counsel

are to report to the courtroom by no later than 8:00 a.m.

on February 6, 2012, so that any remaining pretrial

issues can be resolved and so that jury selection can

begin promptly at 9:00 a.m. on that day.

      DONE, this the 30th day of January, 2012.

                                      /s/ Myron H. Thompson
                                   UNITED STATES DISTRICT JUDGE
